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                               Name                                                                         Addresss                                                       Basis of Claim    Amount        Subject to setoff   Contingent   Unliquidated   Disputed
A.L.P.                                      A.L.P. P.O. Box 95023 Palatine, IL 60095‐0023                                                                                         Vendor      $2,147.40
A‐1 Fire Protection LLC                     9450 Stewart Road Olive Branch, MS 38654                                                                                              Vendor        $107.00
ABCO Dealers IN                             407 New Sanford Rd LaVergne, TN 37086                                                                                                 Vendor      $2,000.00
Accrued Liability‐ not specific customers                                                                                                                                         Vendor    $200,204.00                                              Yes
Accurate Metal Fabricating                  P.O. Box 1156 Bedford Park, IL 60499‐1156                                                                                             Vendor     $74,970.51
Aerobiology Laboratory                      43760 Trade Center Place Suite 100 Sterling, VA 20166                                                                                 Vendor     $24,882.19
Air Filters Inc                             8282 Warren Road Houston , TX 77040                                                                                                   Vendor        $526.80
Airguide Manufacturing Mississippi LLC      795 West 20th Street Hialeah, FL 33010                                                                                                Vendor    $291,343.13
Almeco USA, Inc.                            1610 Spectrum Drive Lawrenceville, GA 30043                                                                                           Vendor     $44,533.21
AMA of Birmingham, LLC                      402 Office Park Drive, Suite G50 Mountain Brook, AL 35223                                                                             Vendor      $7,536.74
American Express CW                         P.O. Box 360001 Ft. Lauderdale, FL 33336‐0001                                                                                         Vendor     $38,910.00
Arizona Lighting Sales                      Arizona Lighting Sales 2001 W. Alameda Dr #101 Tempe, AZ 85282                                                                        Vendor        $559.50
ATS Test & Balance                          ATS Test & Balance 2856 Cela Rd. Memphis, TN 38128                                                                                    Vendor      $2,950.00
B&W Electro                                 B&W Electro 3686 S. Mendenhall Memphis, TN 38115                                                                                      Vendor        $770.21
Bencor                                      Bencor 4629 Hwy 290 West Brenham, TX 77833                                                                                            Vendor      $4,437.00
Bioscience International                    Bioscience International 11333 Woodglen Dr. Rockville, MD 20852                                                                       Vendor      $1,549.10
Bogar, Daniel T.                            1223 Gruene Vintage New Braunfels, TX 78130                                                                                             Wage    $109,693.57
Border States Electric                      Border States Electric P.O. Box 2767 Fargo, ND 58108‐2767                                                                             Vendor        $525.00
Brent Ward                                  Brent Ward 29621 Hennepin St. Garden City, MI 48135                                                                                   Vendor        $100.00
Broadview                                   Broadview 11150 James Street Zeeland, MI 49464                                                                                        Vendor        $850.00
C.H. Robinson                               C.H. Robinson P.O. Box 9121 Minneapolis, MN 55480‐9121                                                                                Vendor      $8,433.19
California Infection Solutions              P.O. Box 165 Fullerton, CA 92835                                                                                                      Vendor    $332,171.00
CED Corporate                               4775 Centennial Blvd. Suite 180 Colorado Springs, CO 80919                                                                            Vendor    $284,755.00
CK Lighting                                 CK Lighting 1101 Chatham Parkway Suite B‐6 Garden City, GA 31408                                                                      Vendor        $430.87
Clarence Dailey Electric                    Clarence Dailey Electric P.O. Box 514 Wichita Falls, TX 76307                                                                         Vendor      $1,485.00
CME‐Vend                                    CME P.O. Box 6887 Warrick, RI 02887                                                                                                   Vendor        $900.00
Competitive Edge Services                   LLC 119 Stonewall Dr. Hendersonville, TN 37075                                                                                        Vendor    $108,780.00
Crowe Horwath LLP                           Crowe LLP P.O. BOX 71570 Chicago, IL 60694‐1570                                                                                       Vendor      $4,500.00
Datuk Gan / LCR Marketing                   gancwah@gmail.com                                                                                                                     Loan       $26,384.00
David Weisfeld                              P.O. Box 532372 Kihei, Hawaii 96753                                                                                                   Loan       $35,991.78
Davis/chamber & Company LTD                 50 Briar Hollow Suite 490E Houston, TX 77027                                                                                          Vendor      $3,000.00
Dawkins Office Supply                       P.O. Box 686 Greenville, MS 38701                                                                                                     Vendor        $116.62
DBR Logistics                               P.O. Box 240 Cleveland, MS 38732                                                                                                      Vendor      $2,100.00
Deco Lighting                               2917 Vail Avenue Commerce, CA 90040                                                                                                   Vendor     $26,795.00
Delaware, State of                          State of Delaware, Division of Corporations P.O. Box 5509 Binghamton, NY 13902‐5509                                                    Tax      $29,400.12                                               Yes
Delta Vending Services                      P.O. Box 9069 Greenwood, MS 38935‐9069                                                                                                Vendor         $170.80
Dhane Burton                                P.O. Box 515 Lyon, MS 38645                                                                                                           Vendor         $450.00
Diffuser Specialists ‐Houston               303 Lombrano Street Suite 5 San Antonio, TX 78207                                                                                     Vendor         $760.76
Digi‐Key Corporation                        701 Brooks Ave S Thief River Falls MN 56701                                                                                           Vendor       $1,091.40
Dilco Industrial, Inc                       205 E. Bristol Lane Orange, CA 92865                                                                                                  Vendor       $1,375.00
Doug Marty Airguide Properties, LLC         795 West 20th St. Hialeah, FL 33010                                                                                                     Loan    $249,972.62
Dr. Cheong Mun Khan,                         Esadsa house Sdn. Bhd. Lot 51, 7th Floor, The boulevard Mid Valley City Lingkaran Syed putra, 59200 Kuala, Lumpur, Malaysia            Loan    $124,986.30
Dynalectric                                 P.O. Box 1287 Fort Wayne, IN 46801                                                                                                    Vendor         $850.00
Eaglerise E&E, Inc                          13405 Benson Ave. Chino, CA 91710                                                                                                     Vendor      $36,635.48
Eco Insight Inc.                            9035 Old Southwick Pass Alpharetta, GA 30022                                                                                          Vendor         $450.00
Elevation Advertising                       9 W Main St. Richmond, VA 23220                                                                                                       Vendor       $5,000.00
EMSL Analytical, Inc                        8700 Jameel Road Suite 190 Houston, TX 77040                                                                                          Vendor       $8,934.30
Engineered Lighting Sales                   2211 Meadow Drive Louisville, KY 400218                                                                                               Vendor         $714.73
Eric L. Self                                1305 Regal Shores Ct. Kingwood, TX 77345                                                                                                Loan      $11,997.26
Ewing & Jones Attorneys at Law              6363 Woodway Suite 1000 Houston, TX 77057                                                                                             Vendor      $29,486.55
Fanlight: Global Electric & Industrial Pr   2000 S. Grove Ave Bldg B Ontario, CA 91761                                                                                            Vendor    $138,803.30
Fastenal Company                            P.O. Box 1286 Winona, MN 55987                                                                                                        Vendor       $1,865.19
FedEx (5268)                                P O Box 94515 Palatine, IL 60094‐4515                                                                                                 Vendor         $322.07
FedEx Freight (2115)                        Dept CH P.O. Box 10306 Palatine, IL 60055‐0306                                                                                        Vendor      $21,400.57
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Frank Tokarz                                            7851 Garden Ln Justice, Illinois 60458                                       Loan    $34,805.00
Frank Tokarz & Ms. Joan Knable                          7851 Garden Ln. Justice, Illinois 60458                                      Loan    $35,991.78
Fulham                                                  12705 S. Van Ness Ave Hawthorne, CA 90250                                  Vendor     $2,253.00
Grainger                                                6655 Crescent Drive Norcross, GA 30071‐2934                                Vendor     $1,540.25
Hapco                                                   26252 Hillman Highway Abingdon, VA 24210                                   Vendor    $19,828.00
Hardy Diagnostics                                       P.O. Box 645264 Cinncinnati, OH 45264‐5264                                 Vendor     $1,239.14
HEG Interests LLC                                       1007 N. Orange St. Ste 1450 Wilmington, De 19801                             Loan   $209,952.05
Hinckley Springs                                        P.O. Box 660579 Dallas, TX 75266‐0579                                      Vendor       $112.39
IAC Supply                                              1601 South St. Grenada, MS 38901                                           Vendor     $3,052.49
Indiana Trust & Investment Management Co.               4045 Edison Lakes Parkway Suite 100 Mishawaka, IN 46545                    Vendor     $1,880.53
Indiana, State of                                       St. Joseph County Tresurer P.O. Box 4758 South Bend, IN 46634‐4758          Taxes    $13,893.16   Yes
Intertek                                                P.O. Box 405176 Atlanta, GA 30384‐5176                                     Vendor     $1,750.00
Jack Duffy & Assoc Inc                                  1894 Georgetown Road Suite 100 Hudson, OH 44236                            Vendor     $2,545.55
JBG Interests                                           1007 N. Orange St. Suite 1450 Wilmington, De 19801                           Loan   $209,952.05
John C. Harreld                                         P.O. Box 413 Canton, MS 39046                                                Loan   $119,972.60
L.M. Ayers LC                                           1803 Stratton Circle Walnut Creek, CA 94598                                Vendor     $1,924.50
Lai Family Investments, Inc., Rocky Lai                 2406 Del Monte Dr. Houston, TX 77019                                         Loan   $149,965.75
Lee, Linda D.                                           10306 Dianella Ln. Austin, TX 78759                                         Wage    $117,523.52
Leesman Lighting                                        130 W Ross Ave Cincinnati, OH 45217‐1017                                   Vendor     $1,854.51
Lehman Investments, LP Nolan Lehmann, General Partner   16303 Sterling Gate Ct. Spring, Tx 77379                                     Loan    $23,994.52
Light Source of Indiana                                 8719 Castle Park Dr Indianapolis, IN 46256                                 Vendor     $1,158.05
Light Sources Inc.                                      37 Robinson Blvd. Orange, CT 06477                                         Vendor     $2,894.50
Lighting Systems of Columbus                            8877 Whitney Dr Lewis Center, OH 43035                                     Vendor     $2,076.62
Lights Fantastic Pro                                    4205 Pinemont Dr Houston, TX 77018                                         Vendor     $7,239.00
LightSource Unlimited Inc.                              980 Corporate Woods Parkway Vernon Hills, IL 60061                         Vendor     $1,779.18
Lunera Lighting INC                                     1615 Wyatt Drive Santa Clara, CA 95054                                     Vendor       $453.25
Magic City Group                                        133 Oxmoor Center Suite 229 Birmingham, AL 35209                           Vendor       $726.00
Malcolm Mimms & Assoc                                   1900 Warner St Nashville, TN 37203                                         Vendor     $2,086.37
Malmstrom White Co                                      11617 Kanis Rd Little Rock, AR 72211                                       Vendor     $1,902.90
Matthews, Lawson, McCutcheon & Joseph PLL               2000 Bering Drive Suite 700 Houston, TX 77057                              Vendor    $56,379.20
Mayer Electric Supply                                   P.O. Box 73812 Newnan, GA 30271                                            Vendor       $851.07
McClaren Advance LLP, Robert S. McClaren                1401 McKinney St. Suite 2222 Houston, Tx 77010                               Loan   $249,972.62
MDA Lites                                               12240 Arbor Trail Palos Heights, IL 60463                                  Vendor     $1,435.00
Michael's Machine Shop, INC.                            170 Goff Rd. Clarksdale, MS 38614                                          Vendor       $170.00
Michiana Recycling                                      P.O. Box 1148 Niles, MI 49120                                              Vendor       $425.95
Microchem/Antimicrobial Test Laboratories               1304 West Industrial Blvd. Round Rock, TX 78681‐2951                       Vendor     $5,100.00
Mike Colye                                              6501 Red Hook Plaza Suite 201 St. Thomas, VI 00802                           Loan    $71,983.56
Mississippi, State of                                   Mississippi Department of Revenue, P.O. Box 23075 Jackson, MS 39225‐3075    Taxes    $58,726.43   Yes
MLOA                                                    P.O. Box 733463 Dallas, TX 75373‐3463                                      Vendor       $501.46


Murphey Beverage                                        P.O. Box 1792 Clarksdale, MS 38614                                         Vendor       $218.29
Norquist, Gordy                                         17800 Dorset Dr. South Bend, In 46635                                       Wage     $34,360.01


O. H. Hendricks Fabricators                             1431 Heistan PI Memphis, TN 38104                                          Vendor    $22,720.63
Olympic Logistics Services                              9375 E Shea Blvd. Suite 100 Scottsdale, AZ 85260                           Vendor       $560.00
Oscar W. Larson Co. ‐ Grand Rapids                      10100 Dixie Highway Clarkston, MI 48348                                    Vendor     $2,025.00
Penn Lighting Associates                                239 S 24th St Philadelphia, PA 19103                                       Vendor     $2,025.42
PennWell                                                21428 Network Place Chicago, IL 60673                                      Vendor    $22,050.00
Peterson DMI                                            15804 Allenwood Dr. Austin, Tx 78734‐1405                                    Loan   $239,945.20
Phelps Security Systems, Inc                            869 South State Street Clarksdale, MS 38614                                Vendor       $455.82
PointOne Recruiting Solutions, Inc.                     8411 Corporate Drive Suite 100 Racine, WI 53406                            Vendor    $13,725.00
Premier Lighting ‐ Columbia                             9 Sunbelt Court Columbia, SC 29203                                         Vendor       $529.70
PREMIER LIGHTING OF CHARLESTON, SC                      1852 H Wallace School Road Charleston, SC 29407                            Vendor     $1,787.75
Prof. John Kennedy                                      55887 Forest Beach Rd. Dowagiac, Mi 49047                                  Loan      $17,995.89
Putterman, Scharck & Associates                         10855 Tanner Road Houston, TX 77041‐7103                                   Vendor     $2,967.45
Qala Soluções e Negocios Ltda                           Rua Visconde de Ouro Preto 5 – 11 andar Rio de Janeiro, CEP 22.250‐180     Vendor    $28,800.00
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Racine Metal‐Fab                               1520 Grandview Pkwy Sturtevant, WI 53177                                      Vendor     $5,347.79
Radiant Industrial Solutions                   2121 Brittmoore Road Suite 2300 Houston, TX                                   Vendor     $2,277.44
Reflex Lighting Group, Inc.                    7 Tide Street South Boston, MA 02210                                          Vendor       $907.00
Resource Lighting Michigan                     3950 West Eleven Mile Road Berkley, MI 48072                                  Vendor       $848.51
Resource Lighting Ohio                         3950 West Eleven Mile Road Berkley, MI 48072                                  Vendor         $9.43
Rexel / GexPro                                 P.O. Box 13623 Philadelphia, PA 19101                                         Vendor    $94,245.00
Richards Electric                              P.O. Box 29860 Cincinnati, OH 45229                                           Vendor     $1,118.00
Robert Kill Irrevocable Trust                  21639 Ravenna Dr. South Bend, In 46628                                          Loan    $29,993.15
Robert Weed Plywood Corp                       P.O. Box 487 Bristol, IN 46507                                                Vendor     $4,281.00
Ron Psimas                                     1031 Branson Bluff Greensboro, GA 30642                                       Vendor     $2,180.00
Row 5 Distributors, Inc.                       122 Sinclair Crescent Saskatoon, SK Canada S7V0E4                             Vendor    $15,954.00
Snowbusters LLC                                Hinz Landscaping 2735 Sage Road Buchanan, MI 49107                            Vendor       $360.00
Soluciones Tecnicas Aplicadas Inc. (SOTAPSA)   Heroes Del 47 Num 104 Col San Dlego Churubusco Deleg Coyoacan CP, MEX 04120   Vendor $142,223.00
Southern Duplicating MS                        4345 HWY 61 South Clarksdale, MS 38614                                        Vendor       $783.10
Southwest Research institute                   PO Drawer 28510 San Antonio, TX 78228                                         Vendor    $17,125.00
Sports Image Apparel                           58800 Executive Drive Mishawaka, IN 46544                                     Vendor       $251.45
Temperature Control                            224 8th Street P.O. Box 4 Clarksdale, MS 38614                                Vendor       $103.07
Tennessee Lighting Sales                       2730 Larmon Ave Nashville, TN 37204                                           Vendor     $1,474.60
Terminix                                       P.O. Box 742592 Cincinnati, OH 45274‐2592                                     Vendor       $898.80
Thomas E. Benedetto                            New Direction's Office 1070 W. Century Dr. Suite 101 Louisville, CO 80027       Loan    $29,993.15
Trestle Medical                                2503 Newman Ave. Tustin, CA 92782                                             Vendor    $43,004.00
Trinity Medical Management, LLC                4621 Jamestown Ave Baton Rouge, LA 70808                                      Vendor $187,500.00
TSG                                            1150 18th Street NW Suite 1000 Washington, DC 20036                           Vendor     $3,765.87
UL LLC                                         75 Remittance Drive Suite 1524 Chicago, IL 60675‐1524                         Vendor       $670.00
Uline Shipping Supplies                        P.O. Box 88741 Chicago, IL 60680‐1741                                         Vendor       $546.89
UPS Freight LTL                                28013 Network Place Chicago, IL 60673‐1280                                    Vendor     $9,232.16
UPS Package LockBox                            577 Carol Stream, IL 60132‐0577                                               Vendor       $290.21
Ushio America, Inc.                            5440 Cerritos Ave. Cypress, CA 90630                                          Vendor $169,093.26
Ushio America‐LOC                              5440 Cerritos Ave. Cypress, CA 90630                                            Loan $3,293,775.00


UV Doctor                                      209 South Washington Ave. Newport, WV 99156                                   Vendor     $3,861.34


Verteramo, Jean D.                             50783 Galaxy Dr. Granger, In 46530                                            Wage       $4,394.25
Verteramo, Jean D.                             50783 Galaxy Dr. Granger, In 46530                                             Wage     $15,978.97
Vital Vio, Inc.                                185 Jordan Road Troy, NY 12180                                                Vendor     $7,800.00
Waggoner                                       52129 St. Rt. 933 South Bend, IN 46637                                        Vendor    $41,367.79
Weiser Insurance Agency                        8303 SW Freeway Suite 510 HOUSTON, TX 77074                                   Vendor    $11,814.26
Weiser, Charles M.                             5718 Darnell St. Houston, Tx 77096                                             Wage    $101,920.38
Wells Fargo Equipment Finance                  300 Tri‐State International Suite 400 Lincolnshire, IL 60069                  Vendor     $2,393.28
Werner Electric Supply Co.                     P.O. Box 668 2341 Industrial Drive Neenah, WI 54957                           Vendor     $6,623.22
West Texas Quality Electrical Lines            3310 Marble Drive Canyon, TX 79015                                            Vendor       $741.00
Western Florida Lighting                       Tampa 2533 Permit Place New Port Richey, FL 34655                             Vendor       $781.50
WMJ Capital Management                         William J. Hickl III, LLC318 Lakeglen Court Sugarland, Tx 77478                 Loan    $11,997.26
Zuli Integrated Lighting Solutions             P.O. Box 80945 Seattle, WA 98108                                              Vendor     $4,072.00
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      Fill in this information to identify the case:
                          Case 18-34728 Document 62 Filed in TXSB on 01/09/19 Page 38 of 40
       Debtor name _American Green Technology, Inc.____________________________

       United States Bankruptcy Court for the: _Southern____________ District of _Texas_____
                                                                                 (State)
                                                                                                               Check if this is an amended filing
     Case number (If known):    _18-34728__________________




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                       12 /15


    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.

     Name of creditor and complete           Name, telephone number, and       Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     email address of creditor         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             contact                           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                               professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                               services, and         or disputed     setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)

                                                                                                                                                            Unsecured claim
                                                                                                                     Total claim, if    Deduction for
                                                                                                                     partially          value of
                                                                                                                     secured            collateral or
                                                                                                                                        setoff

1      California Infection Solutions
       P.O. Box 165                          California Infection Solutions     Trade                                                                     $332,171.00
       Fullerton, CA 92835

2      Airguide Manufacturing Mississippi
       LLC                                   Airguide Manufacturing
       795 West 20th Street                  Mississippi LLC
                                                                                Trade                                                                     $291,343.13
       Hialeah, FL 33010

3      CED Corporate
       4775 Centennial Blvd. Suite 180       CED Corporate                      Trade                                                                     $284,755.00
       Colorado Springs, CO 80919

4      Doug Marty
                                             Doug Marty
       Airguide Properties, LLC
       795 West 20th St.
                                             Airguide Properties, LLC           Loan                                                                      $249,972.62
                                             cell 305-793-6240
       Hialeah, FL 33010

5
       McClaren Advance LLP                  McClaren Advance LLP
       Robert S. McClaren, President         Robert S. McClaren, President
       1401 McKinney St. Suite 2222          w 713-650-9090
                                                                                Loan                                                                      $249,972.62
       Houston, TX 77010                     cell 713-553-1206

6      Peterson DMI
                                             Peterson DMI
       15804 Allenwood Dr.
                                             cell 815-545-1711
                                                                                Loan                                                                      $239,945.20
       Austin, Tx 78734-1405

7
       HEG Interests LLC                     Anthony Badenhorst
       1007 N. Orange St. Ste 1450           800-900-4675                    Loan                                                                         $209,952.05
       Wilmington, De 19801                  abadenhorst@salientpartners.com

8      JBG Interests                         Anthony Badenhorst
       1007 N. Orange St. Ste 1450           800-900-4675                    Loan                                                                         $209,952.05
       Wilmington, De 19801                  abadenhorst@salientpartners.com

9
       Trinity Medical Management, LLC
       4621 Jamestown Ave                    Trinity Medical Management, LLC    Trade                                                                     $187,500.00
       Baton Rouge, LA 70808

    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 1
    Debtor         _______________________________________________________                           Case number (if known)_____________________________________
                   Name
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     Name of creditor and complete             Name, telephone number, and              Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       email address of creditor contact        (for example, trade   claim is        If the claim is fully unsecured, fill in only
                                                                                        debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
                                                                                        professional          unliquidated,   secured, fill in total claim amount and deduction
                                                                                        services, and         or disputed     for value of collateral or setoff to calculate
                                                                                        government                            unsecured claim.
                                                                                        contracts)

                                                                                                                              Total claim, if                     Unsecured
                                                                                                                              partially         Deduction for     claim
                                                                                                                              secured           value of
                                                                                                                                                collateral or
                                                                                                                                                setoff


10    Lai Family Investments, Inc.
                                               Lai Family Investments, Inc.
      Rocky Lai
      2406 Del Monte Dr.
                                               Rocky Lai                                 Loan                                                                   $149,965.75
                                               cell 713-582-4648
      Houston, TX 77019

11    Soluciones Tecnicas Aplicadas Inc.
      (SOTAPSA)                                Soluciones Tecnicas Aplicadas Inc.
      Heroes Del 47 Num 104 Col San            (SOTAPSA)                                 Trade                                                                  $142,223.00
      Dlego Churubusco                         gonzalez.manuel400@gmail.com
      Deleg Coyoacan CP, MEX 04120

12    Fanlight: Global Electric & Industrial
      Pr                                       Fanlight: Global Electric & Industrial
      2000 S. Grove Ave Bldg B Ontario,        Pr
                                                                                         Trade                                                                  $138,803.30
      CA 91761

13    Dr. Cheong
      Cheong Mun Khan
      Esadsa house Sdn. Bhd.                   Dr. Cheong
      Lot 51, 7th Floor, The boulevard Mid     victormkcheong@gmail.com                  Loan                                                                   $124,986.30
      Valley City                              +60122547964
      Lingkaran Syed putra, 59200 Kuala
      Lumpur, Malaysia

14
      John C. Harreld                          John C. Harreld
      P.O. Box 413                             cell 601-906-1150                         Loan                                                                   $119,972.60
      Canton, MS 39046                         jhmal@yahoo.com


15    Lee, Linda D.
      10306 Dianella Ln.                       Lee, Linda D                              Wages                                                                  $117,523.52
      Austin, TX 78759

16    Bogar, Daniel T.
      1223 Gruene Vintage                      Bogar, Daniel T.                          Wages                                                                  $109,693.57
      New Braunfels, TX 78130

17
      Competitive Edge Services, LLC
                                               Competitive Edge Services, LLC
      119 Stonewall Dr.
                                               mike@haiproductsolutions.com
                                                                                         Trade                                                                  $108,780.00
      Hendersonville, TN 37075


18    Weiser, Charles M.
      5718 Darnell St.                         Weiser, Charles M.                        Wages                                                                  $101,920.38
      Houston, Tx 77096

19
      Rexel / Gexpro
      P.O. Box 13623                           Rexel / Gexpro                            Trade                                                                  $94,245.00
      Philadelphia, PA 19101


20
      Accurate Metal Fabricating
      P.O. Box 1156 Bedford Park, IL           Accurate Metal Fabricating                Trade                                                                  $74,970.51
      60499-1156

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